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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Laura L. Divane, et al.
                                       Plaintiff,
v.                                                        Case No.: 1:16−cv−08157
                                                          Honorable Jorge L. Alonso
Northwestern University, et al.
                                       Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 22, 2024:


         MINUTE entry before the Honorable Jeannice W. Appenteng: For the reasons
stated in the accompanying order, plaintiff's motion to compel [206] is granted.
Northwestern shall begin its supplementation immediately and the deadline for
completion is 9/6/2024. Fact discovery shall close on 11/5/2024. Plaintiffs' Rule 26(a)(2)
expert reports shall be disclosed by 12/5/2024. Defendants' Rule 26(a)(2) expert reports
shall be disclosed by 1/10/2025. Rebuttal expert reports shall be disclosed by 2/10/2025.
Expert discovery shall be complete by 3/13/2025. By 9/13/2024, the parties shall file a
joint status report confirming defendants' compliance with this order, setting forth what
discovery remains, if any, and whether any disputes require the Court's attention. Enter
Order. Mailed notice. (kl, )




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